        Case 1:06-cr-00342-LJO Document 131 Filed 09/21/07 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )      01:06-CR-342 LJO
                                                   )
12                         Plaintiff,              )      ORDER ON GOVERNMENT’S
                                                   )      MOTION TO DISMISS
13                                                 )      (Fed. R. Crim. P. 48 (a))
                            v.                     )
14                                                 )
     STEPHEN DEMATTOS,                             )
15                                                 )
                           Defendant.              )
16                                                 )
                                                   )
17
                                                  ORDER
18
              IT IS HEREBY ORDERED that pursuant to the motion to dismiss filed by the Government,
19
     the charges against STEPHEN DEMATTOS found within the indictment in this case, be dismissed
20
     and that the defendant’s bond shall be exonerated.
21
22
23
24
25
     IT IS SO ORDERED.
26
     Dated:      September 19, 2007                  /s/ Lawrence J. O'Neill
27   b9ed48                                      UNITED STATES DISTRICT JUDGE
28


                                                       1
